       Case 1:99-cv-02496-PLF Document 6446-1 Filed 08/19/21 Page 1 of 1




                               UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA
____________________________________
                                          )
UNITED STATES OF AMERICA,                 )
                                          )
        Plaintiff,                        )     Civil Action No. 99-CV-2496 (PLF)
                                          )
and                                       )
                                          )
TOBACCO-FREE KIDS ACTION FUND, )
et al.,                                   )
                                          )
        Plaintiff-Intervenors,            )
                                          )
                 v.                       )
                                          )
PHILIP MORRIS USA, INC., et al.,          )
                                          )
        Defendants.                       )
                                          )

                             [Proposed] ORDER #112-REMAND

       Upon consideration of the Public Health Plaintiff-Intervenors’ Emergency Motion to

Require PM and Altria to Maintain their Document Website Until the Court Rules on the

Intervenors’ Motion to Clarify and Amend Order #1015, it is hereby ORDERED that:

       The Public Health Plaintiff-Intervenors’ Motion is GRANTED; and

       Philip Morris USA, Inc. (“PM”) and Altria Group, Inc. (“Altria”) are ORDERED to

maintain PM’s “Internet Document Website” (www.pmdocs.com) on and after September 1,

2021, as required by Order #1015 (Dkt. No. 5733; Aug. 17, 2006), as previously amended by

Order #1021 (Dkt. No. 5765; Sep. 20, 2006) and Order #27-Remand (Dkt. No. 5953; Dec. 15,

2011), until the parties have fully briefed and this Court has considered and ruled upon the Public

Health Intervenors’ Motion to Clarify and Amend Order #1015 (Dkt. No. 6445; Aug. 19, 2021).

       DATED: ________________                       __________________________
                                                     PAUL L. FRIEDMAN
                                                     U.S. District Judge
